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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                        Chapter 11

    FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

             Debtors.                                             (Jointly Administered)

                                                                  Hearing Date: N/A
                                                                  Obj. Deadline: July 25, 2024 at 4:00 p.m. (ET)

                                                                  Ref. No. 19616

                                    CERTIFICATE OF NO OBJECTION

             The Nineteenth Monthly Fee Statement of Alvarez & Marsal North America, LLC as

Financial Advisors to the Debtors and Debtors-in-Possession for Compensation for Professional

Services Rendered and Reimbursement of Expenses Incurred for the Period from May 1, 2024

Through and Including May 31, 2024 [D.I. 19616] (the “Monthly Fee Statement”) was filed on

July 5, 2024. On August 14, 2024, the MDL FTX Customers (as defined in the Notice of

Withdrawal) filed the Notice of Withdrawal of Limited Omnibus Objections to Certain Monthly

Fee Statements [D.I. 22950] (the “Notice of Withdrawal”) withdrawing the Monthly Fee

Objections (as defined in the Notice of Withdrawal) in their entirety.

             The undersigned hereby certifies that, as of the date hereof, he has received no pending

answer, objection or other responsive pleading to the Monthly Fee Statement. The undersigned

further certifies that he has reviewed the Court’s docket in these cases and no pending answer,

objection or other responsive pleading to the Monthly Fee Statement appears thereon. Pursuant to



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      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
      4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
      Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
      of such information may be obtained on the website of the Debtors’ claims and noticing agent at
      https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
      Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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the notice, responses, if any, to the relief requested in the Monthly Fee Statement were to be filed

and served on or before July 25, 2024 at 4:00 p.m. (ET).

         Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals [D.I. 435], the Debtors are now authorized to pay

80% ($11,994,614.40) of the requested fees ($14,993,268.00) and 100% ($331,134.27) of the

requested expenses on an interim basis without further Court order.

 Dated: August 14, 2024                      LANDIS RATH & COBB LLP
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                                             Kimberly A. Brown (No. 5138)
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                                             -and-

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                                             and Debtors-in-Possession




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